
290 So.2d 903 (1974)
Terry Dale LEJEUNE
v.
HIGHLANDS INSURANCE COMPANY et al.
HARTFORD ACCIDENT AND INDEMNITY CO.
v.
T. &amp; P. IRON WORKS, INC.
No. 54433.
Supreme Court of Louisiana.
March 8, 1974.
Writ denied. No error of law in the judgment.
TATE, J., I adhere to the views expressed in the dissent to the final opinion in Vidrine v. Millers Mutual Ins. Co., 263 La. 300, 268 So.2d 233 (1972), and I therefore dissent from the denial.
DIXON, J., dissents from the denial.
